     Case 2:20-cv-01994-KJD-EJY Document 9 Filed 11/05/20 Page 1 of 4




 1   CHRISTINE M. BOOZE
     Nevada Bar No. 7610
 2   LARA L. MILLER
     Nevada Bar No. 12618
 3   WINNER & SHERROD
     1117 South Rancho Drive
 4   Las Vegas, Nevada 89102
     Phone (702) 243-7000
 5   Facsimile (702) 243-7059
     cbooze@winnerfirm.com
 6   lmiller@winnerfirm.com

 7   Attorneys for Patriot Solar Group LLC

 8                                  UNITED STATES DISTRICT COURT

 9                                      DISTRICT OF NEVADA

10
     DAVID LEWENZ, an individual,                    CASE NO.:   2:20-cv-01994-KJD-EJY
11
                       Plaintiff,
12                                                   STIPULATION AND ORDER TO
     v.                                              DISMISS WITH PREJUDICE
13                                                   PLAINTIFF KARIM LANDRY’S
     KARIM LANDRY, an individual; DOES 1             CLAIMS AGAINST DEFENDANT
14   through 10, ROE ENTITIES 11 through 20,         PATRIOT SOLAR GROUP, LLC, ONLY
     and    ABC     LIMITED     LIABILITY
15   COMPANIES 21 through 30,

16                    Defendants.

17
     KARIM LANDRY, an individual,
18
     v.
19
     DAVID       LEWENZ,       an   individual,
20   PATRIOT SOLAR GROUP, LLC., a
     Michigan Limited Liability Company; FOX
21   RENT-A-CAR, a Nevada registered foreign
     corporation; DOES 1 through 10, inclusive;
22   ROE CORPORATIONS 1 through 10,
     inclusive,
23

24   STATE FARM MUTUAL AUTOMOBILE
     INSURANCE,
25
                       Intervenor.
26
     ///
27
     ///
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                                              Page 1 of 4
     Case 2:20-cv-01994-KJD-EJY Document 9 Filed 11/05/20 Page 2 of 4




 1               STIPULATION AND ORDER TO DISMISS WITH PREJUDICE
                PLAINTIFF KARIM LANDRY’S CLAIMS AGAINST DEFENDANT
 2                         PATRIOT SOLAR GROUP, LLC, ONLY

 3
            IT IS HEREBY STIPULATED by and between Darius F. Rafie and Richard R.K.
 4
     Waltjen of MORTENSEN & RAFIE, LLP, attorneys for the Plaintiff, KARIM LANDRY; and
 5
     Christine M. Booze and Lara L. Miller of WINNER & SHERROD, LTD., attorneys for
 6
     Defendant, PATRIOT SOLAR GROUP, LLC; Brian D. Nettles and Kylee Gloeckner of
 7
     NETTLES | MORRIS, attorneys for Plaintiff DAVID LEWENZ; and Gina Gilbert Winspear of
 8
     DENNETT WINSPEAR, LLP, attorneys for Intervenor STATE FARM MUTUAL
 9
     AUTOMOBILE INSURNACE COMPANY, that Plaintiff Karim Landry’s Complaint be
10
     dismissed with prejudice as to Defendant, PATRIOT SOLAR GROUP, LLC, only, and each
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     party to bear their own costs and attorney’s fees.
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                                                 Page 2 of 4
     Case 2:20-cv-01994-KJD-EJY Document 9 Filed 11/05/20 Page 3 of 4




 1          IT IS FURTHER STIPULATED that this dismissal with prejudice be limited to Plaintiff

 2   KARIM LANDRY’s claims against Defendant PATRIOT SOLAR GROUP, LLC, only.

 3

 4   DATED this 3rd day of November, 2020.        DATED this 3rd day of November, 2020.

 5   NETTLES / MORRIS                             WINNER & SHERROD
 6

 7   By: /s/ Kylee L. Gloeckner                   By: /s/ Lara L. Miller
     BRIAN D. NETTLES, ESQ.                       CHRISTINE M. BOOZE, ESQ.
 8   Nevada Bar No. 7462                          Nevada Bar No. 7610
     KYLEE L. GLOECKNER, ESQ.                     LARA L. MILLER, ESQ.
 9   Nevada Bar No. 14056                         Nevada Bar No. 12618
     1389 Galleria Drive, Suite 200               WINNER & SHERROD
10                                                1117 South Rancho Drive
     Henderson, Nevada 89014                      Las Vegas, Nevada 89102
11   Attorneys for Plaintiff David Lewenz         Attorneys for Patriot Solar Group LLC

12
     DATED this 3rd day of November, 2020.        DATED this 3rd day of November, 2020.
13
     MORTENSON & RAFIE, LLP                       DENNETT WINSPEAR, LLP
14

15
     By: /s/ Richard R.K. Waltjen                 By: /s/ Gina Gilbert Winspear
16   DARIUS F. RAFIE, ESQ.                        GINA GILBERT WINSPEAR, ESQ.
     Nevada Bar No. 6465                          Nevada Bar No. 005552
17   RICHARD R.K. WALTJEN                         3301 North Buffalo Drive, Suite 195
     Nevada Bar No. 13416                         Las Vegas, NV 89129
18   10781 West Twain A venue                     Attorney for Intervenor State Farm Insurance
19   Las Vegas, Nevada 89135                      COMPANY
     Attorney for Plaintiff Karim Landry
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                                             Page 3 of 4
     Case 2:20-cv-01994-KJD-EJY Document 9 Filed 11/05/20 Page 4 of 4




 1
                                                ORDER
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            Upon Stipulation by counsel for the parties, and good cause appearing therefore,
 3
            IT IS HEREBY ORDERED that Plaintiff Karim Landry’s Complaint be dismissed with
 4
     prejudice as to Defendant, PATRIOT SOLAR GROUP, LLC, only, and each party to bear their
 5
     own costs and attorney’s fees; and,
 6
            IT IS FURTHER ORDERED that this dismissal with prejudice be limited to Plaintiff
 7
     KARIM LANDRY’s claims against Defendant PATRIOT SOLAR GROUP, LLC, only.
 8

 9

10
            DATED this 5th         day of   November                           2020.
11

12

13

14
                                                 UNITED STATES DISTRICT JUDGE
15

16
     Submitted by:
17
     WINNER & SHERROD, LTD.
18

19
      /s/ Lara L. Miller
20   Christine M. Booze
     Nevada Bar No. 7610
21   Lara L. Miller
     Nevada Bar No. 12618
22   1117 South Rancho Drive
     Las Vegas, Nevada 89102
23   Attorneys for Defendant Patriot Solar Group, LLC
24

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                                               Page 4 of 4
